 Case 1:19-cv-00614-JTN-SJB ECF No. 64 filed 11/07/19 PageID.909 Page 1 of 10



                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION
ANTHONY DAUNT, et al.,

                  Plaintiffs,
      v.
                                                   Case No.: 1:19-cv-614 (Lead)
JOCELYN BENSON, in her official
Capacity as Michigan
Secretary of State,

                  Defendant,
and

COUNT MI VOTE d/b/a VOTERS NOT
POLITICIANS,
               Intervenor-Defendant.
___________________________________
MICHIGAN REPUBLICAN PARTY, et al.

                  Plaintiffs,
      v.                                          Case No. 1:19-cv-669 (Member)

JOCELYN BENSON, in her official
Capacity as Michigan
Secretary of State,                               HON. JANET T. NEFF

                  Defendant,
and

COUNT MI VOTE d/b/a VOTERS NOT
POLITICIANS,
             Intervenor-Defendant.


           PLAINTIFFS’ MOTION FOR A STATUS CONFERENCE

      Plaintiffs Anthony Daunt, Tom Barrett, Aaron Beauchine, Kathy Berden, Stephen

Daunt, Gerry Hildenbrand, Gary Koutsoubos, Linda Lee Tarver, Patrick Meyers, Marian
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Sheridan, Mary Shinkle, Norm Shinkle, Paul Sheridan, Bridget Beard, and Clint Tarver,

(collectively, “Plaintiffs”), by and through their attorneys, move for a status conference

pursuant to Fed. R. Civ. Proc. Rule 7(b).

      Plaintiffs brought this action on July 30, 2019, to vindicate their right for equal

access to serve on the Citizens Redistricting Commission and prevent further

discrimination based on constitutionally protected activities.

      Plaintiffs’ ability to obtain meaningful injunctive relief is jeopardized as a result of

the unresolved Motions to Dismiss. Plaintiffs have filed a Motion for a Preliminary

Injunction, and Defendants and Defendant-Intervenors have each filed a Motion to

Dismiss and Motion for Judgment on the Pleadings. These motions are currently pending

before this Court and the Court has yet to issue a scheduling order. Until the pending

motions are resolved, Plaintiffs are unable to move their case forward. Accordingly, for

these reasons, as well as those set out in Plaintiffs’ accompanying Memorandum in

Support, Plaintiffs respectfully request a status conference.




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Dated: November 7, 2019
Respectfully submitted,

Holtzman Vogel Josefiak                Bursch Law PLLC
Torchinsky PLLC

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Filing, and paper copies will be sent to those indicated as non-registered participants on

November 7, 2019.


                                                  /s/ John J. Bursch

                                                 Attorney for Plaintiff




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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
ANTHONY DAUNT, et al.,

                     Plaintiffs,
        v.
                                                        Case No.: 1:19-cv-614 (Lead)
JOCELYN BENSON, in her official
Capacity as Michigan
Secretary of State,

                     Defendant,
and

COUNT MI VOTE d/b/a VOTERS NOT
POLITICIANS,
               Intervenor-Defendant.
___________________________________
MICHIGAN REPUBLICAN PARTY, et al.,

                     Plaintiffs,
        v.                                             Case No. 1:19-cv-669 (Member)

JOCELYN BENSON, in her official
Capacity as Michigan
Secretary of State,                                    HON. JANET T. NEFF

                     Defendant,
and

COUNT MI VOTE d/b/a VOTERS NOT
POLITICIANS,
             Intervenor-Defendant.


      PLAINTIFFS’ MEMORANDUM IN SUPPORT OF REQUEST FOR A
                               STATUS CONFERENCE
       Plaintiffs brought this action on July 30, 2019, to vindicate their right for equal
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access to serve on the Citizens Redistricting Commission and prevent further

discrimination based on constitutionally protected activities. With each passing day,

selection for the Citizens Redistricting Commission gets closer. Nevertheless, until the

pending Motions to Dismiss are resolved, this case remains at a standstill — no

scheduling order has been issued and Plaintiffs are unable to move their case forward.

Thus, while this case was brought with sufficient time to ensure Plaintiffs could receive

their requested remedy, any delays in the Court’s consideration of the pending motions

pose a significant threat to Plaintiffs’ ability to obtain meaningful injunctive relief.

Accordingly, Plaintiffs request that the Court set a status conference as soon as is

convenient for the Court.

                                   BACKGROUND

      Plaintiffs filed the Complaint and Motion for a Preliminary Injunction in this action

on July 30, 2019. ECF No. 1, 4. On August 12, 2019, Defendant-Intervenor filed a Motion

for Leave to Intervene, and this Court granted intervention on August 28, 2019. ECF No.

11, 23. On September 19, 2019, Defendant filed an opposition to Plaintiffs’ Motion for

Preliminary Injunction and a Motion to Dismiss. ECF No. 39, 42. On the same date,

Defendant-Intervenor filed an opposition to Plaintiffs’ Motion for Preliminary Injunction

and a Motion to Dismiss and for Judgement on the Pleadings. ECF No. 31, 33. Plaintiffs

filed their opposition to the Motions to Dismiss and for Judgment on the Pleadings on

October 3, 2019. ECF No. 57. Defendant and Defendant-Intervenor filed replies to

Plaintiffs’ opposition on October 10, 2019. ECF No. 60, 61.

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                                                ARGUMENT

          Without action from this Court, Plaintiffs’ ability to obtain meaningful relief in this

case could soon be foreclosed. Plaintiffs have alleged Michigan’s eligibility requirements for

the Citizens Redistricting Commission violate the First Amendment to the United States

Constitution and deny Plaintiffs equal protection of law under the Fourteenth Amendment.

As a remedy, Plaintiffs seek a declaration that the exclusionary criteria set forth in Article

IV, Section 6(1)(B) and (C) of Michigan’s Constitution is unconstitutional and, further, that

the entire Commission must be invalidated because the challenged provision is inseparable

from the remainder of the provisions establishing and implementing the Commission.

Plaintiffs also seek a preliminary injunction directing the Secretary of State to suspend her

implementation of all provisions of the Michigan Constitution relating to the Commission.

          Plaintiffs’ ability to obtain relief is further prejudiced with each step taken to

implement the Commission while this case remains in stasis. Indeed, Defendant Benson

has already taken several crucial steps towards implementation. Specifically, Defendant

Benson initiated public education and outreach programming, opened a public comment

period for application language and eligibility guidelines, and made applications to serve on

the commission available online. Timeline: Michigan Independent Citizens Redistricting

Commission for Fair Elections, (last visited Nov. 5, 2019).1 Further, Defendant Benson

explained in a press release on the State website, “[i]n addition to offering the online

application at RedistrictingMichigan.org, the state will hold application workshops,


1
    https://www.michigan.gov/documents/sos/Redistricting-Commission-Selection-Timeline_649998_7.pdf

                                                         3
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coordinate a statewide grassroots education push to promote awareness of the application,

and mail tens of thousands of applications to randomly selected Michigan registered voters

by Jan. 1, 2020, inviting them to apply to serve on the commission.” News Center, (last

visited Nov. 5, 2019).2

          Because Plaintiffs are barred from participation in the Citizens Redistricting

Commission, their rights to relief are jeopardized with each step forward. Accordingly,

Plaintiffs’ interest in obtaining timely relief in this case is significant. Because of the

important issues this case presents, Plaintiffs would very much like to promptly move

forward with their case to preempt their exclusion from the Citizens Redistricting

Commission.

                                               CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully move for a status conference.




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    https://www.michigan.gov/sos/0,4670,7-127-93094-510835--,00.html

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Dated: November 7, 2019
Respectfully submitted,

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November 7, 2019.


                                                  /s/ John J. Bursch

                                                 Attorney for Plaintiffs




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